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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                  CASE NO. 1:98-cr-00068-MP

ANTHONY DAVIS,

      Defendant.
___________________________/

                                           ORDER

       A revocation hearing was set in this matter for February 23, 2007, and Mr. Davis was

given notice of the hearing by the Order at doc. 160. Mr. Davis failed to appear at the hearing.

Therefore, the Court announced in open Court that Mr. Davis' bond was revoked and that a

bench warrant would be issued. Subsequently, however, Mr. Davis contacted the probation

office, attempting to explain his failure to appear. The prior oral order to revoke bond is

rescinded, and the bench warranted will not be issued. Mr. Davis' revocation hearing is hereby

reset for 11:00 a.m. on Tuesday, February 27, 2007. At that time, the Court will also consider

Mr. Davis' failure to appear at the February 23, 2007 hearing.


       DONE AND ORDERED this 23rd day of February, 2007


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
